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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MASSACHUSETTS


                                            )
CHANMONY HUOT, VLADIMIR                     )
SALDAÑA, LIANNA KUSHI, THOEUN               )
KONG, DENISSE COLLAZO, SUE J.               )
KIM, SOADY OUCH, TOOCH VAN,                 )
CARMEN BERMUDEZ, KEI                        )
KAWASHIMA-GINSBERG, and                     )
FAHMINA ZAMAN,                              )
                                            )
                 Plaintiffs,                )
                                            )
        v.                                  )
                                            )   Case No. 1:17-cv-10895-DLC
CITY OF LOWELL, MASSACHUSETTS; )
KEVIN J. MURPHY, in his official            )
capacity as Lowell City Manager; LOWELL )
CITY COUNCIL; RITA M. MERCIER,              )
RODNEY M. ELLIOTT, EDWARD J.                )
KENNEDY, JR., JOHN J. LEAHY,                )
WILLIAM SAMARAS, JAMES L.                   )
MILINAZZO, DANIEL P. ROURKE,                )
COREY A. BELANGER, JAMES D.                 )
LEARY, in their official capacities as      )
members of the Lowell City Council;         )
LOWELL SCHOOL COMMITTEE;                    )
STEPHEN J. GENDRON, JACQUELINE              )
DOHERTY, CONNIE A. MARTIN,                  )
ROBERT J. HOEY, JR., ROBERT JAMES )
GIGNAC, ANDRE DESCOTEAUX, in                )
their official capacities as members of the )
Lowell School Committee; LOWELL             )
ELECTION AND CENSUS                         )
COMMISSION; and BEVERLY ANTHES, )
JOSEPH MULLEN, THEL SAR,                    )
THOMAS FR. O’BRIEN, in their official       )
capacities as members of the Lowell         )
Election and Census Commission,             )
                                            )
                 Defendants.                )
                                            )
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                                 NOTICE OF WITHDRAWAL

       Please take notice that attorney Matthew Mazzotta hereby withdraws his appearance on

behalf of Plaintiffs in the above-captioned action.



Dated: March 12, 2020                         Respectfully submitted,

                                              CHANMONY HUOT, VLADIMIR SALDAÑA,
                                              LIANNA KUSHI, THOEUN KONG, DENISSE
                                              COLLAZO, SUE J. KIM, SOADY OUCH,
                                              TOOCH VAN, CARMEN BERMUDEZ, KEI
                                              KAWASHIMA-GINSBERG, and
                                              FAHMINA ZAMAN

                                              By their attorney:


                                              /s/ Matthew Mazzotta
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                                 CERTIFICATE OF SERVICE

       I hereby certify that a true copy of the above document was served upon all counsel of
record via ECF electronic filing on March 12, 2020.


                                              /s/ Matthew Mazzotta




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